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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION
                         _____________________________________


SUSAN NEESE, M.D., et al.,

        Plaintiffs,

v.                                                   Civil Action No. 2:21-cv-163-Z

XAVIER BECERRA, et al.,

        Defendants.


                         DEFENDANTS’ PROPOSED JUDGMENT

        Pursuant to the Opinion and Order the Court issued concerning the parties’ motions for

summary judgment, ECF No. 66, at 26 (“Opinion and Order”), Defendants Xavier Becerra, in his

official capacity as Secretary of the United States Department of Health and Human Services, and the

United States of America (collectively, “Defendants”) hereby submit a proposed judgment.

Defendants respectfully disagree with the Court’s Opinion and Order insofar as it grants relief to

Plaintiffs. In complying with the Court’s order to submit a proposed judgment consistent with the

Opinion and Order, Defendants do not waive any rights and instead expressly preserve all rights,

including the right to appeal any orders or judgments of the Court, including the Opinion and Order,

any resulting judgment, and the Court’s order certifying a class, ECF No. 65.




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                         [DEFENDANTS’ PROPOSED] JUDGMENT

        On October 14, 2022, the Court entered an order granting Plaintiffs’ Motion for Class

Certification and certifying a class (the “Class”) of “[a]ll health-care providers subject to section 1557

of the Affordable Care Act.” ECF No. 65; ECF No. 44 (class certification motion). On November

11, 2022, the Court entered an Opinion and Order GRANTING IN PART and DENYING IN

PART Plaintiffs’ Motion for Summary Judgment and GRANTING IN PART and DENYING IN

PART Defendants’ Motion for Summary Judgment. ECF No. 66. Consistent with the Opinion and

Order, the Court:

               GRANTS summary judgment for Plaintiffs and the Class and DENIES summary
                judgment for Defendants on Count I of the First Amended Complaint insofar as
                Plaintiffs and the Class seek to hold unlawful and set aside the U.S. Department of
                Health and Human Services’s Notification of Interpretation and Enforcement of
                Section 1557 of the Affordable Care Act and Title IX of the Educational Amendments
                of 1972, 86 Fed. Reg. 27,984 (May 25, 2021) (“Notification”);

               GRANTS summary judgment for Defendants and DENIES summary judgment for
                Plaintiffs and the Class on Count I of the First Amended Complaint insofar as
                Plaintiffs and the Class seek injunctive relief;

               GRANTS summary judgment for Plaintiffs and the Class and DENIES summary
                judgment for Defendants on Count II of the First Amended Complaint;

               DECLARES that the Notification is unlawful as to Plaintiffs and the Class; and

               SETS ASIDE the Notification as to the Plaintiffs and the Class.

        The Court DENIES all other relief not expressly granted herein. This judgment applies to

Plaintiffs, the Class, and Defendants.

        Judgment is rendered accordingly.

        November __, 2022

                                                         ________________________________
                                                         MATTHEW J. KACSMARYK
                                                         UNITED STATES DISTRICT JUDGE




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Dated November 21, 2022                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       On November 21, 2022, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                         /s/ Brian W. Stoltz




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